 REV 09/18                          UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF TENNESSEE
                                                          ) Case No.: 3:21-cr-95
                                                          )
      UNITED STATES OF AMERICA                              Judge: Trauger
                                                          )
      V.
                                                          ) Hearing Date: September 28, 2022
                                                          ) Location: ✔ Nashville       Columbia                                    Cookeville

   ALEXANDER FRIEDMANN                                    )
                                                          ) Court Reporter: Roxann Harkins
                                                          )
  (list each defendant appearing at hearing)                Court Interpreter:
                                                          )
                                                          CRIMINAL MINUTES
  Government Attorney(s): Robert McGuire

  Defense Attorney(s): Ben Russ

  TRIAL PROCEEDINGS                                                            NON-TRIAL PROCEEDINGS
  1. Jury Trial*                                                                7. Initial Appearance/Arraignment
  2. Non-Jury Trial*                                                            8. Plea Hearing
  3. Sentencing Hearing Contested*                                              9. Sentencing Hearing
  4. Supervised Release Hearing-Contested*                                      10. Status conference                                            ✔
  5. Probation Revocation Hearing-Contested*                                    11. Pretrial Conference
  6. Other Evidentiary Hearing*                                                 12. Supervised Release Revocation Hearing
     (Describe #6 in comments section below)                                    13. Probation Revocation Hearing
*For items 1-6, a Witness/Exhibit List is required
 and must be separately filed.                                                  14. Motion Hearing
                                                                                15. Other Proceeding
JURORS (complete on day 1 only):                                                         (Describe #15 in comments section below)

   1.                                                                             7.
   2.                                                                             8.
   3.                                                                             9.
   4.                                                                             10.
   5.                                                                             11.
   6.                                                                             12.
Alt 1.                                                                          Alt 2.
  COMMENTS:




    Counsel for all parties present. Defendant present and in custody. Counsel announced that the defendant is on track to be sentenced in
    January 2023. His state court sentence is scheduled for 10/6/2022.




                                                                             Clerk of Court
   Total Time in Court:         5 minutes
                                                                             by: Debby Sawyer


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